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                             United States District Court
                                       for the
                             Southern District of Florida

  Todd Benjamin International, Ltd.       )
  and others, Plaintiffs,                 )
                                          )
  v.                                      ) Civil Action No. 20-21808-Civ-Scola
                                          )
  TCA Fund Management Group               )
  Corp. and others, Defendants.           )
                                         Order
        This matter is before the Court on the Plaintiffs’ unopposed motion for leave
 to amend the complaint. (ECF No. 19.) After careful consideration of the briefing,
 the record, and the relevant legal authorities, the Court grants the Plaintiffs’
 motion. (ECF No. 19.)
        Pursuant to Federal Rule of Civil Procedure 15(a)(2), a party seeking to
 amend its complaint more than twenty-one days after the defendant has served a
 responsive pleading or a motion to dismiss may do so only with the opposing
 party’s written consent or the court’s leave. Leave shall be freely given when
 justice so requires. Rule 15(a) reflects a policy of “liberally permitting
 amendments” and absent a “substantial reason to deny leave to amend” a
 plaintiff’s request should be granted. Espey v. Wainwright, 734 F.2d 748, 750
 (11th Cir. 1984). The Plaintiffs seek to amend their complaint in order to bring
 claims against defendants not named in the original complaint and not subject to
 the stay imposed by the receivership order entered in Securities and Exchange
 Commission v. TCA Fund Management Group Corporation, No. 20-
 21964-CIV-ALTONAGA (S.D. Fla.) (the “SEC Action”). (ECF No. 19.) The Receiver
 does not oppose the motion (ECF No. 19), and the Court granted the Plaintiffs
 leave to amend their complaint to add the new defendants in the SEC Action. (No.
 20-21964-CIV, ECF No. 297.)
        Therefore, the Court grants Plaintiff’s motion (ECF No. 19.) The stay
 imposed by the Court’s order staying and administratively closing the case (ECF
 No. 16) is lifted. The Clerk is directed to reopen this case. The Plaintiffs shall file
 their Amended Complaint (ECF No. 19-1) as a separate docket entry by
 September 6, 2022.
       Done and ordered in Miami, Florida, on August 31, 2022.


                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
